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~AO 2450     (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1



                                     UNITED STATES DISTRICT COURT
                                                         Southern District of Illinois                                              ~~
         UNITED STATES OF AMERICA                                       Judgment in a Criminal                cas.~C~~4~tI                      '()
                      v.                                                (For Revocation of Probation or Supervi               ~) ' ;/An~
                 Rick Harre                                                                                                       '~'.t    -"t(Y
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                                                                        Case No. 4:98CR40104-006-JPG
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                                                                        USM No. 04646-025                                                ~ V",O<s
                                                                           Melissa A. Day, AFPD
                                                                                                        Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           as alleged below        of the term of supervision.
o was found in violation of condition(s)              _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                                     Violation Ended
Statutory                      The defendant committed the offense of Leaving the Scene                                11/15/2008

                               of l3~'Aq~~e~!
Statutory                      The defendant illegally possessed cocaine                                             02/07/2008


       The defendant is sentenced as provided in pages 2 through             5          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa\d. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes III
economIC clrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 0388                     03/26/2009

Defendant's Vear of Birth:         1964

City and State of Defendant's Residence:
Brownstown, IL 62418
                                                                         J. Phil       ilbert
                                                                                                 ,"'                         District Judge
                                                                                                       Nam.e and Title of Judge


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                                                                                   _            4%.(. 6., 2--~c' ,:1
                                                                                                                Date
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DEFENDANT: Rick Harre
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                                                       ADDITIONAL VIOLATIONS

                                                                                                                     Violation
Violation Number                Nature of Violation                                                                  Concluded
Standard # 7                    The defendant drank alcohol to excess                                             12/15/2007



Standard # 11                   The defendant failed to notify probation timely of being arrested                    12/15/2007
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  AO 245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
               Sheet 2~ Imprisonment

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  DEFENDANT: Rick Harre
  CASE NUMBER: 4:98CR40104-006-JPG


                                                                   IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of:
16 months (The Court sentences the defendant to 20 months, but gives him 4 months credit for time already served in State
custody.



       tI The court makes the following recommendations to the Bureau of Prisons:
That the defendant be placed in a half-way house the last 6 months of his sentence.




       t/ The defendant is remanded to the custody of the United States Marshal.
       D The defendant shall surrender to the United States Marshal for this district:
           D    at    _ _ _ _ _ _ _ _ D a.m.                        D p.m.    on
           D    as notified by the United States Marshal.

       D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D    before 2 p.m. on
           D    as notified by the United States Marshal.
           D    as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

  I have executed this judgment as follows:




          Defendant delivered on                                                       to

  at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL



                                                                             By ------=-==-:-::-=,."....,:=-:c=..,...,,~=_:---­
                                                                                            DEPUTY UNITED STATES MARSHAL
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  AO 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release

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  DEFENDANT: Rick Harre
  CASE NUMBER: 4:98CR40104-006-JPG
                                                             SUPERVISED RELEASE

   Upon release from imprisonment, the defendant shall be on supervised release for a term of:
5 years



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug
  tests thereafter as determined by the court.
  o     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
  "     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  "     The defendant shall cooperate in the collection of ONA as directed by the probation officer. (Check, ifapplicable.)
  o     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
  o     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this jud~ent imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION

  1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
            five days of each month;
  3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted permIssion to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  11)       the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the pennission of the court; and
  13)       as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics and shall pennit the probation officer to make such
            notifications and to confinn the defendant's compliance with such notificatIOn requirement.
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            Sheet 3C - Supervised Release

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                                            SPECIAL CONDITIONS OF SUPERVISION

X Due to the defendant's substance abuse history, he shall participate as directed and approved by the probation officer in
treatment for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
detection measures and which may require residence and/or participation in a residential treatment facility. Any
participation will require complete abstinence from all alcoholic beverages. The defendant shall pay for the costs
associated with substance abuse counseling and/ or testing based on a copay sliding fee scale approved by the United
States probation Office. Copay shall never exceed the total costs of counseling. The number of tests shall not exceed 52
in a one year period.

X All criminal monetary penalties, restitution and forfeitures previouly impsoed shall continue to remain in full force and
effect until paid in full.
